
— On defendant’s appeal from an order dated December 11, 1940, granting in part and denying in part the defendant’s motion for an examination of the plaintiff before trial on the issues raised by the counterclaim, order modified in the following particulars: (1) By directing the examination of the plaintiff by Richard J. Ritchie, in addition to the other persons specified in the order; (2) by directing that plaintiff be examined as to items numbered 15, 26 and 30 of the notice of motion; (3) by directing that the plaintiff produce upon such examination the documents and articles specified in items numbered III and XV of the notice of motion, and those specified in item numbered XIV, except the plaintiff’s drums. On plaintiff’s cross-appeal the order is further modified by denying the examination as to item numbered 39 of the notice of motion. As thus modified, the order, in so far as appealed from, is affirmed, with*929out costs. No opinion. Lazansky, P. J., Carswell, Johnston, Adel and Close, JJ., concur.
